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     IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                 MISSISSIPPI, JACKSON DIVISION



UNITED STATES OF AMERICA



V.                                                                 NO. 5:07-CR-17



MICHAEL TYLER


                       ORDER TO UNSEAL PLEA AGREEMENT


 Came on this day on Motion of Michael Knapp, attorney of record for Michael Tyler, to

Unseal the Plea Agreement signed by the defendant and the government , and it appearing unto

the Court that a valid reason has been presented to grant same, the Court is of the opinion that

said Motion is well taken and should be granted:

IT IS THEREFORE ORDERED THAT Michael Knapp be allowed to inspect to sealed plea

agreement entered in this cause.

ORDERED THIS THE 23rd              DAY OF January, 2008.



                                          s/ David Bramlette
                                      UNITED STATES DISTRICT COURT JUDGE




Presented by:
Michael Knapp
405 Tombigbee St.
Jackson, MS 39201
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601-988-5308


                                             1

       That Michael Knapp was recently appointed to represent Michael Tyler, after the death of

his former attorney, William Barnett.


                                             2

     That after talking with his client, Michael Knapp became aware that

defendant desires to move this Court to set aside his plea agreement.



                                             3

   That to properly investigate this intended motion, Michael Knapp needs to examine the plea

agreement.



                                                 4

That the clerk informed Michael Knapp that the plea agreement was sealed and that a court order

was needed.



  Wherefore the Defendant, Michael Tyler, moves this Court for an order unsealing the plea
agreement for the benefit of Michael Knapp, his attorney.



Respectfully submitted,


__________________
Michael Knapp #4203
405 Tombigbee Street
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Jackson, ms 39201
601-988-5308
